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 1   MARIO N. ALIOTO, ESQ. (56433)
     LAUREN C. CAPURRO, ESQ. (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
     2280 Union Street
 3
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   E-mail: malioto@tatp.com
     laurenrussell@tatp.com
 6
     Counsel for Indirect Purchaser Plaintiffs
 7

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 9                             UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)  )                Master File No. 3:07-cv-5944 SC
14   ANTITRUST LITIGATION           )
                                    )                MDL No. 1917
15                                  )
                                    )                ADMINISTRATIVE MOTION TO
16                                  )                CONSIDER WHETHER CASES SHOULD
                                    )                BE RELATED
17                                  )
18   This document relates to:      )
                                    )
19   ALL INDIRECT PURCHASER ACTIONS )                The Honorable Samuel Conti
                                    )                Special Master Charles A. Legge (Ret.)
20                                  )
                                    )
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     CASE NO. 3-07-cv-5944 SC
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
              Case 4:07-cv-05944-JST Document 1838 Filed 08/08/13 Page 2 of 2




 1          Pursuant to Civil L.R. 3-12, Plaintiffs move for consideration whether the following

 2   action pending in the Northern District of California should be related to this proceeding:

 3   Luscher, et al. v. Videocon Industries Limited, et al., Case No. 3:13-cv-03234 EDL.

 4          These cases are related within the meaning of Civil L.R. 3-12(a) because all concern

 5   substantially the same parties and events, and because duplication of labor and expense or

 6   conflicting results are likely if the cases are conducted before different Judges. Each case was

 7   filed as a class action alleging price-fixing in the cathode ray tube industry, and plaintiffs in each

 8   case assert claims on behalf of indirect purchasers.

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11   Dated: August 7, 2013                  By:     /s/       Mario N. Alioto________

12                                          MARIO N. ALIOTO, ESQ. (56433)
                                            LAUREN C. CAPURRO, ESQ. (241151)
13
                                            TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
14                                          2280 Union Street
                                            San Francisco, CA 94123
15                                          Telephone: (415) 563-7200
                                            Facsimile: (415) 346-0679
16                                          E-mail: malioto@tatp.com
                                            laurenrussell@tatp.com
17

18                                          Counsel for Indirect Purchaser Plaintiffs

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